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  5 Attorneys for Party-in-Interest and Appellant Erika Girardi

  6

  7

  8                            UNITED STATES BANKRUPTCY COURT

  9             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION

 10

 11 In re                                             CACB Case No. 2:20-bk-21022-BR

 12 GIRARDI KEESE,                                    Chapter 7

 13                 Debtor.                           CACD Case No. 2:21-cv-06951-SVW

 14                                                   STIPULATION AND [PROPOSED]
                                                      ORDER EXTENDING APPELLATE
 15                                                   DEADLINES FOR 30 DAYS

 16                                                   Judge:      Hon. Barry Russell

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  1          Party-in-Interest and Appellant Erika Girardi (“Appellant”), Appellee Elissa D. Miller,

  2 Chapter 7 trustee (“Appellee”), and the Law Offices of Ronald Richards & Associates, APC,

  3 ("Richards") (collectively the “Parties”), by and through their undersigned counsel, and subject to the

  4 approval of this Court, enter into this Stipulation and [Proposed] Order Extending Appellate

  5 Deadlines for 30 Days (“Stipulation”), the purpose of which is to extend pending appellate deadlines

  6 for thirty (30) days, and specifically, to extend the upcoming deadline for Appellee to designate any

  7 additional record and provide a supplemental statement of issues on appeal from October 22, 2021 to

  8 November 22, 2021.

  9          This Stipulation is based on the following facts:

 10          1.      On August 25, 2021, Appellant filed her Notice of Appeal and Statement of

 11 Election with the Clerk of the Bankruptcy Court in the above entitled action with Case No. 2:20-

 12 bk-21022-BR, thereby appealing this Court’s August 11, 2021 Order and concurrently filed

 13 Memorandum of Decision Denying Party-in-Interest Erika Girardi’s Motion for Reconsideration

 14 of Order Granting Chapter 7 Trustee’s Application to Employ the Law Offices of Ronald Richards

 15 & Associates, A.P.C. as Special Litigation Counsel (the “Appeal”) (Dkt. 632).

 16          2.      On September 8, 2021, Appellant filed her Designation of Record, Statement of

 17 Issues on Appeal, and Notice Regarding the Ordering of Transcripts with the Clerk of the

 18 Bankruptcy Court (Dkts. 660-662).

 19          3.      On September 21, 2021, Appellant filed the Parties’ Stipulation and [Proposed]

 20 Order Extending Appellate Deadlines for 30 Days (Dkt. 710). On September 22, 2021, the Court

 21 issued its Order Extending Appellate Deadlines for 30 Days until October 22, 2021 (Dkt. 712).

 22          4.      The Parties, through counsel, have met and conferred about the Appeal. In these

 23 discussions, to facilitate a potential consensual resolution of the issues raised by the Appeal, the

 24 Parties have agreed to continue all current and pending deadlines related to the Appeal by an

 25 additional thirty (30) days. Specifically, the next deadline is on October 22, 2021, for Appellee to

 26 file a supplemental designation of record and supplemental statement of issues related to the

 27 Appeal, which the Parties have agreed to extend to November 22, 2021.

 28         Based on the foregoing, the Parties hereby stipulate and agree to extend the deadline for

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  1                                      [PROPOSED] ORDER

  2         Pursuant to the foregoing Stipulation for Order Extending Appellate Deadlines for 30

  3 Days, and good cause appearing, IT IS HEREBY ORDERED that:

  4            1. The deadline for Appellee to file a supplemental designation of record and

  5 supplemental statement of issues is extended from October 22, 2021 to November 22, 2021.

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                                                 Barry Russell
 10                                              United States Bankruptcy Judge
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  1                             PROOF OF SERVICE OF DOCUMENT
  2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is:
  3
                                           650 Town Center Drive, Suite 1700
  4                                             Costa Mesa, CA 92626

  5 A true and correct copy of the foregoing document entitled (specify): STIPULATION AND [PROPOSED]
      ORDER EXTENDING APPELLATE DEADLINES FOR 30 DAYS will be served or was served (a) on the
  6 judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  7 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8 hyperlink to the document. On October 18, 2021, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  9 receive NEF transmission at the email addresses stated below:

 10
                                                                  Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL:
 12 On October 18, 2021, I served the following persons and/or entities at the last known addresses in this
      bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
 13 in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
      constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 14 document is filed.

 15
                                                                  Service information continued on attached page
 16
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 17 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
      _______________, I served the following persons and/or entities by personal delivery, overnight mail
 18 service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 19 mail to, the judge will be completed no later than 24 hours after the document is filed.

 20
                                                                  Service information continued on attached page
 21
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 22
        October 18, 2021 Cheryl Winsten
 23     Date                      Printed Name                    Signature

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  1                                       In re GIRARDI KEESE
                                         Case No. 2:20-bk-21022-BR
  2                                  U.S.B.C. Central District of California
                                            Los Angeles Division
  3
      1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING:
  4
      The following is the list of parties who are currently on the list to receive email notice/service for
  5
      this case.
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 16 Los Angeles, CA 90012

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    Los Angeles, CA 90017
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 21
    Donlin, Recano & Company
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 23 Brooklyn, NY 11219

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 25 Costa Mesa, CA 92626

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